         Case 2:15-cv-00075-KGB Document 1 Filed 05/20/15 Page 1 of 4



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               EASTERN DIVISION

ANGELA K. MATHESON                                                           PLAINTIFF

V.                                Case No. 2:15CV75-KGB

SHOE CARNIVAL, INC.,
CONTINENTAL PROPERTY MANAGEMENT, INC.,
CHENAL COMMONS 1031, LLC,
JOHN DOES 1-10, Individually,
JOHN DOES 11-20, Individually, and
JOHN DOES 21-30, Individually                                             DEFENDANTS




                                       ANSWER

      Comes Defendant, Shoe Carnival, Inc., and for its answer to the Complaint states:

                                           1.

      It denies the allegations of Paragraph 1 of the Complaint.

                                           2.

      It admits the allegations of the first sentence of Paragraph 2 of the Complaint. It

denies the allegations of the second sentence of Paragraph 2 of the Complaint.

                                           3.

      It admits the allegations of Paragraph 3 of the Complaint, but denies Continental

Property Management, Inc., is a proper party to this action.

                                           4.

      It denies the allegations of Paragraph 3 of the Complaint.

                                           5.

      It denies the allegations of Paragraph 5 of the Complaint.

                                                                                 Page 1 of 4
         Case 2:15-cv-00075-KGB Document 1 Filed 05/20/15 Page 2 of 4



                                            6.

      It admits the allegations of the first two sentences of Paragraph 6 of the Complaint.

It denies the remaining allegations of Paragraph 6 of the Complaint.

                                            7.

      It denies the allegations of Paragraph 7 of the Complaint.

                                            8.

      It denies the allegations of Paragraph 8 of the Complaint.

                                            9.

      It denies the allegations of Paragraph 9 of the Complaint.

                                           10.

      It denies the allegations of Paragraph 10 of the Complaint.

                                           11.

      It joins in Plaintiff’s demand in Paragraph 11 of the Complaint for trial by jury and

demands jury trial pursuant to Federal Rule of Civil Procedure 38(b).

                                  AFFIRMATIVE DEFENSES

                                           12.

      It asserts insufficiency of process and insufficiency of service of process in defense

to the claims of the Complaint.

                                           13.

      Plaintiff’s damages proximately resulted in whole or in part from her own failures

to use ordinary care for her own safety.         Plaintiff’s fault should be determined in

accordance with the Arkansas Comparative Fault Act, as codified at Ark. Code Ann. § 16-64-


                                                                                  Page 2 of 4
          Case 2:15-cv-00075-KGB Document 1 Filed 05/20/15 Page 3 of 4



122, to diminish or bar any recovery to which she might otherwise be entitled.

                                             14.

       Plaintiff’s damages proximately resulted from fault of others for whom Defendant

has no liability.

                                             15.

       It asserts all defenses available under the Arkansas Comparative Fault Act, as codified

at Ark. Code Ann. § 16-64-122, the Arkansas Civil Justice Reform Act of 2003, as codified

at Ark. Code Ann. § 16-55-201, and the Uniform Contribution Among Joint Tortfeasors Act,

as codified at Ark. Code Ann. § 16-61-201, et seq.         It demands apportionment and

allocation of the relative degrees of fault of all persons, parties and non-parties who may

be at fault, and for contribution or indemnity as may be appropriate.

                                             16.

       The allegations of the Complaint are insufficient to state a claim for punitive

damages. The purported claim for punitive damages should be dismissed pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.

                                             17.

       In the event punitive damages remain an issue at the time of trial, Defendant

demands bifurcation pursuant to Ark. Code Ann. § 16-55-211.

                                             18.

       It denies each allegation not specifically denied herein, and reserves the right to

plead further.

       WHEREFORE, Shoe Carnival, Inc., prays the Complaint of plaintiff be dismissed and

for all other just and proper relief.

                                                                                    Page 3 of 4
         Case 2:15-cv-00075-KGB Document 1 Filed 05/20/15 Page 4 of 4




                                   /s/Gene Williams
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                                   Little Rock, Arkansas 72201
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2015, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

       Win Trafford
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                                   /s/Gene Williams
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                                                                                  Page 4 of 4
